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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
________________________________________

 ANDREW R. PERRONG
 1657 THE FAIRWAY #131
 JENKINTOWN, PA 19046

                  Plaintiff
                                                         Case No.
 vs.

 PERSONAL INJURY LEAD GENERATOR                          JURY TRIAL DEMANDED

            Defendant.



                                           COMPLAINT

                                      Preliminary Statement

        1.       Plaintiff Andrew R. Perrong (“Plaintiff”), brings this action under the Telephone

Consumer Protection Act (“TCPA”), 47 U.S.C. § 227, a federal statute enacted in response to

widespread public outrage about the proliferation of intrusive, nuisance calling practices. See

Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 745 (2012).

        2.       The as-yet unidentified Defendant in this action (“Defendant” or “Personal Injury

Lead Generator”), who generates leads for personal injury attorneys and who transmits various

caller IDs, sent pre-programmed and pre-recorded automated text messages to Plaintiff, which is

prohibited by the TCPA.

        3.       The Plaintiff never consented to receive such messages, which were placed to him

for telemarketing purposes.

                                               Parties

        4.       Plaintiff Andrew R. Perrong is a Pennsylvania resident, and a resident of this

District.
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        5.       Defendant is unidentified at this time, and is only identified by its caller IDs and

the generic nature of the messages and recordings when called. The Defendant engages in calling

activity into this District, as it did with the Plaintiff. After this complaint is filed, Plaintiff will

make a motion under Fed. R. Civ. P. 26(d)(1) to serve a subpoena on the carrier(s) for the caller

IDs used by the Defendant to ascertain the identity of the Defendant.

                                         Jurisdiction & Venue

        6.       The Court has federal question subject matter jurisdiction over these TCPA

claims. Mims v. Arrow Fin. Services, LLC, 132 S. Ct. 740 (2012).

        7.       Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part of

the events or omissions giving rise to the claim occurred in this District, as the automated

messages to the Plaintiff were placed into this District.

                            The Telephone Consumer Protection Act

        8.       In 1991, Congress enacted the TCPA to regulate the explosive growth of the

automated calling industry. In so doing, Congress recognized that “[u]nrestricted telemarketing .

. . can be an intrusive invasion of privacy [.]” Telephone Consumer Protection Act of 1991, Pub.

L. No. 102-243, § 2(5) (1991) (codified at 47 U.S.C. § 227).

The TCPA Prohibits all Automated Calls To Protected Numbers

        9.       The TCPA makes it unlawful “to make any call (other than a call made for

emergency purposes or made with the prior express consent of the called party) using an

automatic telephone dialing system or an artificial or prerecorded voice . . . to any telephone

number assigned to a . . . paging service, cellular telephone service, specialized mobile radio

service, or other radio common carrier service, or any service for which the called party is

charged for the call.” See 47 U.S.C. § 227(b)(1)(A)(iii).



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       10.     Congress singled out these services for special protection either because Congress

realized their special importance in terms of consumer privacy and therefore protected them (as

in the case of cellular phones), or because the numbers are assigned to services, like Mr.

Perrong’s VoIP service, for which the called party is charged, thus shifting the cost of automated

or prerecorded messages onto consumers. See Barr v. Am. Ass’n of Pol. Consultants, Inc, 140 S.

Ct. 2335, 2363, (2020) (Gorsuch, J. & Thomas, J., concurring in part and dissenting in part).

       11.     According to findings by the Federal Communication Commission (“FCC”), the

agency Congress vested with authority to issue regulations implementing the TCPA, such

messages are prohibited because, as Congress found, automated or prerecorded messages are a

greater nuisance and invasion of privacy than live ones, are costly, and are inconvenient.

       12.     Under the TCPA, a text message is treated as a call. Campbell-Ewald Co. v.

Gomez, 577 U.S. 153, 156 (2016).

       13.     The TCPA provides a private cause of action to persons who receive messages in

violation of 47 U.S.C. § 227(b)(1)(A). See 47 U.S.C. § 227(b)(3).

       14.     This cause of action applies to users of any one of the four protected services

(pager, cellular, specialized mobile radio [i.e. radiotelephony locator beacons or dispatch

systems], or another radio common carrier service [i.e. ship-to-shore or air-to-ground]), or any

service, including residential, VoIP, and landline services, for which the called party is charged.

See Lynn v. Monarch Recovery Mgmt., Inc., 953 F. Supp. 2d 612, 623 (D. Md. 2013).

       15.     “Non-emergency prerecorded voice or autodialed calls to [the destinations

enumerated in 47 U.S.C. § 227(b)(1)(A)] are permissible only with the prior express consent of

the called party.” This includes telemarketing messages. See FCC Enforcement Advisory: Tel.




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Consumer Prot. Act Robocall & Text Rules - Biennial Reminder for Pol. Campaigns About

Robocall & Text Abuse, 31 FCC Rcd. 1940, 1941 n.6 (2016) [hereinafter FCC Advisory].

                                       Factual Allegations

       16.     Defendant is a telemarketer and lead generator that places automated, pre-

recorded text messages for the purpose of generating leads it sells to personal injury attorneys.

       17.     To generate the leads it sells, Defendant relies on automated texting.

       18.     One of the strategies used by Defendant involves the use of pre-recorded and pre-

programmed text messages.

The Calls to Mr. Perrong

       19.     Plaintiff Perrong is a “person” as defined by 47 U.S.C. § 153(39).

       20.     Plaintiff’s telephone number (the “Number”), 215-947-XXXX, is on the National

Do Not Call Registry and has been continuously since 2005.

       21.     Despite this registration, the Defendant sent three telemarketing text messages to

Plaintiff on March 22, 29, and 30, 2022.

       22.     The Number is assigned to a Voice over Internet Protocol (VoIP) telephone

service, which allows for voice calls to be placed over a broadband Internet connection.

       23.     That Number, which is assigned to a VoIP telephone service, is charged for each

call and text message it receives.

       24.     The VoIP telephone service for the Number is Anveo.

       25.     The service charges a charge of $0.01 for each block of 160 character text

messages sent to the Number.




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       26.     The Number is therefore “assigned to a . . . service for which the called party is

charged for the call” and any call placed to that number are subject to the restrictions enumerated

in 47 U.S.C. § 227(b)(1)(A)(iii).

       27.     On March 22, 2022 at 11:02 AM, the Plaintiff received the following text

message from the caller ID 659-210-8059: Hello!! Alexandra. Office: 1-855-

866-6761 -- Couldyou call me so we can go over your potential

injryclaim/settlment? Thank you! 'STOP' to stop.

       28.     On March 29, 2022 at 12:34 PM, the Plaintiff received the following text message

from the caller ID 659-242-1102: It'sAndrea Y.. -Office: 1-855-547-1025 -

Plscall me please so we can go over your previous injry-details?

You may be entitled some-compensation 'STOP' to stop

       29.     On March 31, 2022 at 2:05 PM, the Plaintiff received the following text message

from the caller ID 659-210-1991: It'sSheri. -OL: 1-855-334-5023 - Give me

call pls, so we can go over your previous injry-details? U may

be entitled some-compensation 'STOP' to stop

       30.    When the various 855- telephone numbers are called, an identical pre-recorded

message plays asking the caller to confirm that they were injured and would like to speak with a

personal injury lawyer by pressing 1. However, this action only transfers the Plaintiff to an

overseas call center who will not identify themselves or transfer the Plaintiff to an attorney

responsible for the calls without specific details about an injury.

       31.    Upon information and belief, this conduct is deliberate and done to conceal the

identity of the Personal Injury Lead Generator sending the illegal messages.




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       32.     The Personal Injury Lead Generator first sends out the text messages, such as the

ones Plaintiff relieved, en masse in the hopes of reaching a person with an injury in need of an

attorney.

       33.     When a person receives the message and calls the number in the message, they are

asked to confirm that they are injured and need an attorney, presumably to avoid wasting the

time of Lead Generator’s agents from persons angry about receiving unsolicited calls.

       34.     Moreover, Lead Generator’s agents will require detailed information from the

caller regarding the injury before selling the lead. Lead Generator them sells the lead, complete

with case information, to an attorney who specializes in that particular injury. In this way, Lead

Generator can maximize the price it sells its lead at, which is sold to the highest bidding attorney.

       35.     Defendants sent their messages to the Plaintiff despite the fact that the Number

was on the National Do Not Call Registry.

       36.      Nowhere in the messages nor in the calls to the call center is the true identity of

the caller, sued as Personal Injury Lead Generator, identified.

       37.      In addition, the messages were sent using an Automatic Telephone Dialing

System (ATDS) because it would be incongruous for a human to send multiple messages en

masse soliciting personal injury clients and request that persons call a specific number, only to

play the called party a recorded message and seek confirmation that the person is indeed injured.

       38.      The Plaintiff never provided his consent or requested these messages.

       39.      Based on this fact, it is evident that Defendant does not maintain Do Not Call

policies and procedures as required by law, nor do they maintain an internal Do Not Call list.

       40.      The Plaintiff was charged $0.03 for the messages.




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       41.      Plaintiff was harmed by these messages. He was temporarily deprived of

legitimate use of storage space for storing the messages and his privacy was improperly invaded.

The Plaintiff was charged for the messages. Moreover, they injured Plaintiff because they were

frustrating, obnoxious, annoying, were a nuisance and disturbed the solitude of Plaintiff.


                                           Legal Claims

                                          Count One:
                Violation of the TCPA’s Prohibition Against Automated Calling
                                   Via Pre-Recorded Message

       42.      Plaintiff incorporates the allegations from all previous paragraphs as if fully set

forth herein.

       43.      The foregoing acts and omissions of Defendant and/or its affiliates, agents, and/or

other persons or entities acting on Defendant’s behalf constitute numerous and multiple

violations of the TCPA, 47 U.S.C. § 227, by sending messages, except for emergency purposes,

to the telephone number of Plaintiff using a prerecorded voice message.

       44.      As a result of Defendant’s and/or its affiliates, agents, and/or other persons or

entities acting on Defendant’s behalf’s violations of the TCPA, 47 U.S.C. § 227, Plaintiff is

entitled to an award of $500 in damages for each and every call made to his telephone number

for which he is charged for the call using an artificial or prerecorded voice in violation of the

statute, pursuant to 47 U.S.C. § 227(b)(3)(B).

       45.      Plaintiff is also entitled to and does seek injunctive relief prohibiting Defendant

and/or its affiliates, agents, and/or other persons or entities acting on Defendant’s behalf from

violating the TCPA, 47 U.S.C. § 227, by making calls or sending messages, except for

emergency purposes, to any number using an artificial or prerecorded voice in the future.

       46.      The Defendant’s violations were wilful and/or knowing.


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                                         Count Two:
                Violation of the TCPA’s Prohibition Against Automated Calling
                     With an Automatic Telephone Dialing System (ATDS)

       47.      Plaintiff incorporates the allegations from all previous paragraphs as if fully set

forth herein.

       48.      The foregoing acts and omissions of Defendant and/or its affiliates, agents, and/or

other persons or entities acting on Defendant’s behalf constitute numerous and multiple

violations of the TCPA, 47 U.S.C. § 227, by making calls and sending messages, except for

emergency purposes, to the telephone number of Plaintiff using an ATDS.

       49.      As a result of Defendant’s and/or its affiliates, agents, and/or other persons or

entities acting on Defendant’s behalf’s violations of the TCPA, 47 U.S.C. § 227, Plaintiff is

entitled to an award of $500 in damages for each and every call made to his telephone number

for which he is charged for the call using an ATDS in violation of the statute, pursuant to 47

U.S.C. § 227(b)(3)(B).

       50.      Plaintiff is also entitled to and does seek injunctive relief prohibiting Defendant

and/or its affiliates, agents, and/or other persons or entities acting on Defendant’s behalf from

violating the TCPA, 47 U.S.C. § 227, by making calls or sending messages, except for

emergency purposes, to any number using an artificial or prerecorded voice in the future.

       51.      The Defendant’s violations were wilful and/or knowing.

                                         Count Three:
                      Violation of the TCPA’s Implementing Regulations
                                Codified at 47 C.F.R. § 64.1200

       52.      By placing at least three telemarketing calls/messages to the Plaintiff, whose

number is on the Do-Not-Call registry, failing to have a written Do-Not-Call policy, and failing

to maintain the Plaintiff on its Do-Not-Call list, Defendant, jointly and severally, violated 47



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U.S.C. § 227(c)(5) by violating the implementing regulations codified in 47 C.F.R. § 64.1200(c)

and (d).

       53.     This amounts to nine violations since Defendant committed three violations per

call. The first violation is calling a number on the national Do-Not-Call registry. 47 C.F.R. §

64.1200(c)(2). The second violation is by calling Plaintiff without having a Do-Not-Call policy

in place. 47 C.F.R. § 64.1200(d)(1). The third violation is by calling Plaintiff without

maintaining the Plaintiff on its internal Do-Not-Call list. 47 C.F.R. § 64.1200(d)(6).

       54.     The foregoing acts and omissions of Defendant and/or its affiliates, agents, and/or

other persons or entities acting on Defendant’s behalf constitute at least nine violations of the

TCPA, 47 U.S.C. § 227(c), codified at 47 C.F.R. § 64.1200, by, inter alia, refusing to scrub

against the National Do-Not-Call registry, refusing to maintain Mr. Perrong’s number on an

internal Do-Not-Call list, and failing to have a Do-Not-Call policy.

       55.     As a result of Defendant’s and/or its affiliates, agents, and/or other persons or

entities acting on its behalf’s violations of the TCPA, 47 U.S.C. § 227(c), Plaintiff is entitled to

an award of $500 in damages for each and every call and violation made to his telephone number

in violation of the TCPA’s implementing regulations codified at 47 C.F.R. § 64.1200, pursuant

to 47 U.S.C. § 227(c)(5)(B).

       56.     Plaintiff is also entitled to and does seek injunctive relief prohibiting Defendant

and/or its affiliates, agents, and/or other persons or entities acting on its behalf from violating the

TCPA, 47 U.S.C. § 227(c), by making calls or sending messages in violation of any of the

TCPA’s implementing regulations in the future.




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       57.      The Defendant’s violations were knowing and/or willful. Accordingly, the

Plaintiff seeks up to treble damages of the $500 per violation award, as provided in 47 U.S.C. §

227(b)(3)(B).


                                          Relief Sought

       WHEREFORE, Plaintiff requests the following relief:

       A.       Injunctive relief prohibiting Defendant from calling telephone numbers using an

                artificial or prerecorded voice and/or ATDS.

       B.       Because of Defendant’s violations of the TCPA, Plaintiff seeks for himself $500

                in damages for each violation or—where such regulations were willfully or

                knowingly violated—up to $1,500 per violation, pursuant to 47 U.S.C. §

                227(b)(3) or 47 U.S.C. § 227(c)(5).

       C.       Such other relief as the Court deems just and proper.




       Plaintiff requests a jury trial as to all claims of the complaint so triable.



Dated: July 5, 2022



                                                _______________________/s/_______________
                                                                         Andrew R. Perrong
                                                                             Plaintiff Pro-Se
                                                                     1657 The Fairway #131
                                                                      Jenkintown, PA 19046
                                                                       Phone: 215-791-6957
                                                                    Facsimile: 888-329-0305
                                                                   andyperrong@gmail.com



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JS 44 (Rev. 04/21)               Case 2:22-cv-02628-GJP
                                                    CIVILDocument
                                                          COVER1SHEET
                                                                  Filed 07/01/22 Page 11 of 13
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                        DEFENDANTS
       ANDREW R. PERRONG                                                                                 PERSONAL INJURY LEAD GENERATOR
       1657 THE FAIRWAY #131, JENKINTOWN, PA 19046                                                       UNKNOWN
   (b) County of Residence of First Listed Plaintiff MONTGOMERY                                          County of Residence of First Listed Defendant UNKNOWN
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)

           ANDREW R. PERRONG (PRO SE); 1657 THE FAIRWAY
           #131, JENKINTOWN, PA 19046; 215-791-6957
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                     of Business In This State

  2    U.S. Government                 4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                   Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                              TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                      PERSONAL INJURY                  PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                         310 Airplane                    365 Personal Injury -             of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                     315 Airplane Product                 Product Liability        690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument               Liability                  367 Health Care/                                                     INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment        320 Assault, Libel &                Pharmaceutical                                                 PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment           Slander                        Personal Injury                                                820 Copyrights                    430 Banks and Banking
  151 Medicare Act                   330 Federal Employers’              Product Liability                                              830 Patent                        450 Commerce
  152 Recovery of Defaulted               Liability                  368 Asbestos Personal                                              835 Patent - Abbreviated          460 Deportation
       Student Loans                 340 Marine                          Injury Product                                                     New Drug Application          470 Racketeer Influenced and
       (Excludes Veterans)           345 Marine Product                  Liability                                                      840 Trademark                         Corrupt Organizations
  153 Recovery of Overpayment             Liability                 PERSONAL PROPERTY                       LABOR                       880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits          350 Motor Vehicle               370 Other Fraud               710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
  160 Stockholders’ Suits            355 Motor Vehicle               371 Truth in Lending              Act                                                                485 Telephone Consumer
  190 Other Contract                     Product Liability           380 Other Personal            720 Labor/Management                  SOCIAL SECURITY                      Protection Act
  195 Contract Product Liability     360 Other Personal                  Property Damage               Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                          Injury                      385 Property Damage           740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                     362 Personal Injury -               Product Liability         751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                         Medical Malpractice                                           Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                    CIVIL RIGHTS                 PRISONER PETITIONS             790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation              440 Other Civil Rights          Habeas Corpus:                791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                    441 Voting                      463 Alien Detainee                Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment         442 Employment                  510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                  443 Housing/                        Sentence                                                            or Defendant)                896 Arbitration
  245 Tort Product Liability             Accommodations              530 General                                                        871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property        445 Amer. w/Disabilities -      535 Death Penalty                 IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                         Employment                  Other:                        462 Naturalization Application                                             Agency Decision
                                     446 Amer. w/Disabilities -      540 Mandamus & Other          465 Other Immigration                                                  950 Constitutionality of
                                         Other                       550 Civil Rights                  Actions                                                                State Statutes
                                     448 Education                   555 Prison Condition
                                                                     560 Civil Detainee -
                                                                         Conditions of
                                                                         Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             2 Removed from                     3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
    Proceeding             State Court                            Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                            (specify)                 Transfer                          Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       TELEPHONE CONSUMER PROTECTION ACT, 47 USC 227; 47 CFR 64.1200
VI. CAUSE OF ACTION Brief description of cause:
                                       DEFENDANTS CALLED PLAINTIFF IN VIOLATION OF THE TCPA
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                               22,500                                      JURY DEMAND:           Yes       No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE                                                                DOCKET NUMBER
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD
7/5/2022
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
JS 44 Reverse (Rev. 04/21)   Case 2:22-cv-02628-GJP Document 1 Filed 07/01/22 Page 12 of 13
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statute.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
                            Case 2:22-cv-02628-GJP
                                               UNITEDDocument   1 Filed
                                                      STATES DISTRICT   07/01/22 Page 13 of 13
                                                                      COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff: ______________________________________________________________________________________________

Address of Defendant: ____________________________________________________________________________________________

Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                   Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                       Yes                    No
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                      Yes                    No
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                         Yes                    No
       numbered case pending or within one year previously terminated action of this court?

4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                      Yes                    No
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /      is not related to any case now pending or within one year previously terminated action in
this court except as noted above.

DATE: __________________________________                     __________________________________________                     ___________________________________
                                                                        ---------------------
                                                                         Attorney-at-Law / Pro Se Plaintiff                              Attorney I.D. # (if applicable)


CIVIL:

A.            Federal Question Cases:                                                      B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                       1.   Insurance Contract and Other Contracts
       2.     FELA                                                                               2.   Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                          3.   Assault, Defamation
       4.     Antitrust                                                                          4.   Marine Personal Injury
       5.     Patent                                                                             5.   Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                         6.   Other Personal Injury (Please specify): _____________________
       7.     Civil Rights                                                                       7.   Products Liability
       8.     Habeas Corpus                                                                      8.   Products Liability – Asbestos
       9.     Securities Act(s) Cases                                                            9.   All other Diversity Cases
       10.    Social Security Review Cases                                                            (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                          ARBITRATION CERTIFICATION
                                                  (

I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:

              Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

              Relief other than monetary damages is sought.


DATE: __________________________________                     __________________________________________                     ___________________________________
                                                                     -----------------
                                                                     Attorney-at-Law / Pro Se Plaintiff                                  Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 ( /2018)
